             U N I T E D S TAT E S D I S T R I C T C O U RT
          FOR THE SOUTHERN DISTRICT OF TEXAS
                       HOUSTON DIVISION


 Richard Lowery, on behalf of himself           Civil Action No.
 and others similarly situated,                 4:22-cv-3091

                       Plaintiff,
                                                Judge Charles Eskridge
 v.

 Texas A&M University System, et al.,

                       Defendants.


                 PLAINTIFF’S NOTICE TO THE COURT
      On Friday, July 21, 2023, defendant Katherine Banks resigned as president of

Texas A&M University. According to media reports, her resignation was triggered

by the university’s efforts to hire Kathleen McElroy to lead the university’s journal-

ism program. See Exhibits 1–2. McElroy is an ardent proponent of DEI who opposes

meritocracy and supports racial discrimination against whites and Asians to achieve

demographic balancing on university faculties.

      McElroy was chosen for this job in June of 2023 despite a recently enacted Texas

law (SB 17) that bans DEI at public universities and requires colorblind and sex-neu-
tral hiring practices. McElroy’s hiring was announced with great fanfare at an on-

campus ceremony replete with balloons and attended by José Luis Bermúdez, the

then-Interim Dean of the College of Arts and Sciences. See Exhibit 3. But the bon-
homie quickly unraveled after McElroy’s past statements on racial preferences came

to light. On June 15, 2023, two days after the announcement of McElroy’s hiring,

the Texas Scorecard reported, among other things that:



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   • McElroy was part of the Council for Racial and Ethnic Equity and Di-
     versity (CREED) during her time at UT-Austin, an organization that
     advocates for racial discrimination in favor of “underrepresented” mi-
     norities in hiring decisions and against whites and Asians.

   • McElroy wrote an Op-Ed for The Daily Texan that supported diver-
     sity measures and tracking faculty demographics to make the univer-
     sity more welcoming to those who are not “cisgender straight White
     men.”

   • McElroy wrote that “every faculty member and staff member of color
     is an ad hoc Diversity, Equity and Inclusion officer at UT because our
     numbers are so small. I have been attending seminars and reading ar-
     ticles about attracting faculty of color because we all have to identify,
     hire and nurture faculty of color as we have done for privileged
     groups.”
See Exhibit 4. After these statements were disclosed, McElroy told the media that

she and the university agreed to a five-year contract position without tenure, which

would obviate the need for approval from the university’s board of regents, rather

than the tenured position that McElroy and the university had originally envisioned.
McElroy also said the university shifted its stance again after this and offered a mere

one-year contract with at-will employment. McElroy rejected that offer and decided
to return to UT-Austin. McElroy also told the press that José Luis Bermúdez, the

then-Interim Dean of the College of Arts and Sciences, said to her that the univer-

sity’s shifting offers and the internal resistance to her hiring were motivated by ani-
mus toward blacks and the New York Times rather than opposition to McElroy’s DEI
agenda. She quoted Bermúdez as saying: “You’re a Black woman who was at The

New York Times and, to these folks, that’s like working for Pravda.” See Exhibit 5.
    Bermúdez was forced to resign over this debacle, and Banks followed him out
the door a few days later. Some faculty members are also calling for the head of de-

fendant N.K. Anand, the Vice President for Faculty Affairs. On Friday, July 21,


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2023, one of the faculty senators e-mailed the faculty senate and wrote: “Unfortu-

nately, the purging is not over. N.K. has no defense for his most recent and many

other earlier offenses, and his resignation must also come forth or be demanded to

allow us to be in a position for rebuilding.” Then on Sunday, July 23, 2023, Duncan
M. Walker, the Associate Dean for Graduate Programs, College of Engineering,

sprang to Anand’s defense and e-mailed the following missive to the faculty senate:

       Prof. NK Anand and I have worked closely together in a variety of roles
       over decades. He has always demonstrated integrity and character. He
       always follows university policies and procedures, even when it would
       be easier to take a shortcut. He and I do not always agree, but we know
       each other well enough to speak frankly about our disagreements and
       understand each other’s reasoning.

       NK has always placed a high value on developing a faculty that is rep-
       resentative of Texas. I have seen him reject a slate of on-campus inter-
       view candidates because he felt that the search committee had not
       done a good enough job building a representative pool of candidates,
       and they needed to go back and do a better job. And he has worked
       hard to help departments land candidates to help us achieve that rep-
       resentation. . . .

       This situation is a fiasco, and we want to get to the bottom of it, but
       after 38 years at Texas A&M and all his experiences with tough situa-
       tions, NK did not suddenly throw out all of his principles.
Exhibit 6 (emphasis added). This e-mail is astounding in many regards. First, the e-

mail acknowledges that defendant Anand “has always placed a high value on devel-

oping a faculty that is representative of Texas,” and offers this as a reason for Anand
to keep his current job. Dean Walker expects the faculty senate to respond favorably

to Anand’s efforts to achieve proportional racial representation on the Texas A&M




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faculty, even though the soon-to-take-effect SB 17 (as well as extant federal law) pro-

hibits consideration of race and sex in hiring decisions and requires faculty hiring to

be based solely on academic merit.

    Second, Dean Walker’s e-mail admits that Anand has personally rejected entire
slates of on-campus interview candidates—not because of anything related to merit,

but because Anand deemed the candidates insufficiently diverse. This, too, is offered

as a reason for Anand to keep his job rather than lose it. There is not even an inkling

in Walker’s e-mail that Anand’s actions were unlawful, or that discriminatory hiring

practices of this sort are about to become unlawful come January 1, 2024. Lowery is

entitled to take discovery on these practices and find out whether Anand (and others

at Texas A&M) plan to continue or discontinue these patently illegal actions. Dean

Walker’s e-mail does not evince any expectation that the situation will change when

SB 17 takes effect, nor does it reflect any desire on the part of the faculty senate to

comply with SB 17 or with federal anti-discrimination law.

    Third, Walker’s e-mail lauds Anand as an individual who “always follows uni-

versity policies and procedures,” which indicates that university “policies” and

“procedures” allow or even encourage Anand (and possibly other university admin-

istrators) to reject to entire slates of interview candidates based solely on their de-
mographic characteristics. It certainly shows that there is no university policy against

this behavior; otherwise Walker’s praise for Anand’s efforts at “developing a faculty

that is representative of Texas” would contradict his description of Anand as one
who “always follows university policies and procedures.”

    Fourth, Walker’s e-mail confirms what Lowery has alleged in his current and

proposed pleadings: That race and sex preferences “infect every aspect of faculty




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hiring at Texas A&M University,”1 and that Texas A&M University “has no inten-

tion of complying with SB 17 or Students for Fair Admissions.”2 Those allegations

must be assumed true even in the absence of evidence,3 but it never hurts to buttress

allegations in a pleading with evidence that justifies the need for discovery. Cf. Bell
Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007) (“Factual allegations must be

enough to raise a right to relief above the speculative level”).

    Finally, this case cannot be dismissed as moot when the university’s leadership

remains in limbo and it is impossible to know whether the incoming regime intends

to comply with SB 17. The next president could be even more supportive of DEI than

Banks, and it is still to be determined whether Anand will keep his job and who (if

anyone) will replace him. Chancellor Sharp has named an acting President (Mark A.

Welsh III, the Dean of the Bush School of Government and Public Service), and a

presidential search committee will eventually recommend Banks’s successor. See Ex-

hibit 7. But it is not unusual for presidential search committees to last an entire cal-

endar year, and it is unlikely that an acting President will have the clout or the where-

withal to dismantle the DEI apparatus and root out the culture or race and sex pref-

erences that permeates Texas A&M University. Dean Walker had no compunctions

boasting about N.K. Anand’s racially discriminatory meddling in faculty-hiring de-
cisions—even a month after SB 17 was signed into law.

                                  CONCLUSION
    The motion to dismiss for lack of justiciability should be denied.




1. See First Amended Complaint, ECF No. 19, at ¶ 22.
2. See Proposed Second Amended Complaint, ECF No. 37-2, at ¶ 58.
3. See Manhattan Community Access Corp. v. Halleck, 139 S. Ct. 1921, 1927 (2019).


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                                     Respectfully submitted.

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Dated: July 23, 2023                 the Proposed Class




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